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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             COLUMBUS DIVISION

AGNES MILLEN, et al.,                      *

      Plaintiffs,                          *

vs.                                        *
                                                     CASE NO. 3:21-CV-42 (CDL)
GEORGIA RENEWABLE POWER, LLC,              *
et al.,
                                           *
      Defendants.
                                           *

                                     O R D E R

      The Court grants the parties’ joint renewed motion to sever

additional cases for trial (ECF No. 218) as follows. In accordance

with the parties’ proposal, the Court will try one abated nuisance

case and one continuing nuisance case during the May 2024 trial

term, which is scheduled to begin on May 13, 2024.                    The pretrial

conference will be held in April 2024.                The two bellwether cases

proposed by the parties (Jinks, 3:21-cv-61 and Sweatman, 3:21-cv-

44)   shall   be   subject      to   the       Court’s   final   pretrial    order

requirements,      as   shall    the    six       proposed   replacement     cases

(O’Connor,    3:21-cv-58,       Pearcy,        3:21-cv-57,   Ayers,    3:21-cv-49,

Nesmith, 3:21-cv-43, Gettys, 3:21-cv-53, and Pruitt, 3:21-cv-55).

The Clerk is directed to sever these six cases.                   If a proposed

bellwether case is settled before trial, it will be replaced on

the trial schedule with a replacement case.                   From now on, all
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filings related only to a single severed case shall be filed only

in that case.

     IT IS SO ORDERED, this 20th day of November, 2023.

                                        s/Clay D. Land
                                        CLAY D. LAND
                                        U.S. DISTRICT COURT JUDGE
                                        MIDDLE DISTRICT OF GEORGIA




                                    2
